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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MASSACHUSETTS

IN RE PHARMACEUTICAL INDUSTRY )
AVERAGE WHOLESALE PRICE LITIGATION ) MDL No. 1456
)
-CV-12257-PBS -CV-3
01-CV-12257-PBS AND 01-CV-339 ) Judge Patti B. Saris
)
Judgment

IT IS ADJUDGED AND DECREED THAT:

Judgment is entered in favor of Class 2 against AstraZeneca Pharmaceuticals LP
in the amount $5,557,376, including pre-judgment interest, and in favor of Class 3 against
AstraZeneca Pharmaceuticals LP in the amount $7,384,499, including pre-judgment interest, for

a total of $ 12,941,869.

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Dated: November A{2007 “N J Cuhan SS ww YOLA D

